                      UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                            1:17-cv-603-WO-JLW

COLLEEN MCCLEAN,
          Plaintiff,
       v.                                       JOINT STIPULATION OF DISMISSAL
                                                        WITH PREJUDICE
DUKE UNIVERSITY, ET AL.,
         Defendants.


     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the Parties, through undersigned

  counsel, respectfully stipulate to the dismissal with prejudice of all claims for relief

  of any kind asserted in this action. The Parties have agreed that each will bear their

  own costs, attorneys’ fees, disbursements, and expenses of any kind incurred in

  connection with this action.

     Stipulated to by counsel for the Parties on this 23nd day of January 2020:


                                         Counsel for Plaintiff, Colleen McClean

                                         /s/ Robert Ekstrand
                                         Robert Ekstrand
                                         N.C. State Bar No. 26673
                                         Ekstrand & Ekstrand LLP
                                         110 Swift Avenue, Second Floor
                                         Durham, North Carolina 27705
                                         Tel. (919) 416-4590
                                         Fax (919) 416-4591
                                         Email rce@ninthstreetlaw.com




 Case 1:17-cv-00603-WO-JLW Document 61 Filed 01/24/20 Page 1 of 3
                             Counsel for Defendant Shiela Broderick:

                             /s/ Dan J. McLamb
                             Dan J. McLamb
                             N.C. State Bar No. 6272
                             John B. Ward
                             N.C. State Bar No. 44886
                             YATES, MCLAMB & WEYHER, LLP
                             P.O. Box 2889
                             Raleigh, NC 27602
                             Tel. (919) 835-0900
                             Fax (919) 835-0910


                             Counsel for Defendant Steven Bishop:

                             /s/ David O. Lewis
                             David O. Lewis
                             N.C. State Bar No. 9917
                             BRYANT LEWIS & LINDSELY P.A.
                             Post Office Box 341
                             Durham, North Carolina 27702
                             Tel. (919) 688-6343




                              -2-



Case 1:17-cv-00603-WO-JLW Document 61 Filed 01/24/20 Page 2 of 3
                    UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF NORTH CAROLINA
                          1:17-cv-603-WO-JLW

 COLLEEN MCCLEAN,
           Plaintiff,
        v.                                         CERTIFICATE OF SERVICE
 DUKE UNIVERSITY, ET AL.,
           Defendants.


    On the date electronically stamped below, the foregoing Joint Stipulation of
Dismissal with Prejudice was electronically filed with the Court’s CM/ECF System,
which will issue a Notice of Electronic Filing (NEF) to counsel of record for every
party registered to receive NEFs through the Court’s CM/ECF System. I further
certify that every party to this action has at least one counsel of record registered to
receive NEFs in this action.

                                           /s/ Robert Ekstrand
                                           Robert Ekstrand, Counsel for Plaintiff




                                         -3-



Case 1:17-cv-00603-WO-JLW Document 61 Filed 01/24/20 Page 3 of 3
